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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTICT OF COLUMBIA


DEMOCRACY FORWARD FOUNDATION,

              Plaintiff,

                      v.                                   Civil Action No. 18-1799 (APM)

U.S. DEPARTMENT OF COMMERCE,

              Defendant.


                                     JOINT STATUS REPORT

        Pursuant to the Court’s April 4, 2019 Minute Order, the parties hereby provide the

 following information to the Court in this Freedom of Information Act (“FOIA”) action.

        Defendant is processing Plaintiff’s September FOIA request (submitted after this lawsuit

 was filed) and is finalizing a first interim release of responsive documents. Although Defendant

 reported on April 4, 2019, that it expected to provide a first interim release on or prior to April 8,

 2019, the release did not complete the production process on that date. This was occasioned, at

 least in part, by one of the agency employees who assisted in such processing departing the

 agency. Defendant has now produced what has been cleared for release in that first release. 1

 Defendant further regrets that there was delay in finalizing the release that was earlier expected

 by May 10, 2019. At present the Agency estimates that a second interim release can be

 accomplished by May 30, 2019. Additional searches are still ongoing, so the volume of

 potentially responsive records to be reviewed is not yet fully known. The parties remain willing




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          Defendant has also agreed to re-review those materials in an effort to ascertain whether
 certain of the redactions might be withdrawn, and anticipates that this can be accomplished in
 advance of the next joint status report contemplated by the parties.
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to discuss outstanding issues as they arise, but believe that a further joint status report will be in

order.

         WHEREFORE, the parties propose that the Court establish a date for a further joint status

report on June 19, 2019.

         Dated: May 15, 2019

                                                Respectfully submitted,



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